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                        United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION



JUDGE: Sean D. Jordan

COURT REPORTER:
Gayle Wear

COURTROOM DEPUTY:
Bonnie Sanford

STATE OF TEXAS, ET AL

v.                                                         Case No. 4:20cv957

GOOGLE


PLAINTIFF: Mark Lanier, Noah Neinz, Ashley Keller, Marc Collier, Zeke DeRose,
          Austin Kinghorn

DEFENDANT: Kathy Patrick, Elisa Wulfsburg, Ayesha Najam, Charles Rosson, Robin Gibbs,
           Michael Cammack (trial tech)

       This day came the parties and by their attorneys the following proceedings were
held before Judge Sean D. Jordan in Plano, Texas on 3/12/2025.

Motion Hearing (de#690)

1:36 pm      The Court called the case, noting the appearance of counsel and parties.

1:38 pm      Each side will have 30 minutes for argument.

1:39 pm      Ms. Patrick presents argument on the motion for the Defense.

2:32 pm      Mr. Keller presents response for the Plaintiff.

2:56 pm      Ms. Patrick presents reply.

3:08 pm      Mr. Keller responds.

3:11 pm      Ms. Patrick replies.

3:12 pm      The Court addresses the parties regarding submitting additional briefs.
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3:16 pm    Court adjourned.
